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6    Attorney for Defendant
     CRYSTAL RUSSO
7
8
                          IN THE UNITED STATES DISTRICT COURT
9
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12
13   UNITED STATES OF AMERICA,              )   Case No. 2:11-CR-0198 MCE
                                            )
14                            Plaintiff,    )
                                            )   STIPULATION AND ORDER
15               vs.                        )   CONTINUING STATUS CONFERENCE
                                            )   AND EXCLUDING TIME
16   CRYSTAL RUSSO,                         )
                                            )
17                            Defendant.    )   Date: September 18, 2014
                                            )   Time: 9:00 a.m.
18                                          )   Judge: Hon. Morrison C. England
19
20         It is hereby stipulated and agreed between defendant, Crystal Russo, and
21   plaintiff, United States of America that the status conference scheduled for September
22   18, 2014, may be rescheduled for October 30, 2014, at 9:00 a.m. and time under the
23   Speedy Trial Act excluded as set forth below.
24         The defense has provided to the assigned Assistant U.S. attorney information
25   about discussions with prior counsel. Additional discovery promised by prior
26   government counsel has not yet been provided but the parties’ discussions may obviate
27   the need for additional discovery. The parties expect to meet and confer again before
28   the rescheduled status conference. The parties therefore agree that the ends of justice

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1    served by this continuance outweigh the best interests of the public and the defendant
2    in a speedy trial and ask that time under the Speedy Trial Act should be excluded
3    through October 30, 2014, pursuant to 18 U.S.C. § 3161(h)(1)(g) and (h)(7)(a) and
4    (b)(IV).
5                                             Respectfully Submitted,
6                                             HEATHER E. WILLIAMS
                                              Federal Defender
7
8    Dated: September 15, 2014                /s/ T. Zindel__________________
                                              TIMOTHY ZINDEL
9                                             Assistant Federal Defender
                                              Attorney for CRYSTAL RUSSO
10
11                                            BENJAMIN WAGNER
                                              United States Attorney
12
13   Dated: September 15, 2014                /s/ T. Zindel for J. Hitt   ____
                                              JASON HITT
14                                            Assistant U.S. Attorney
15
16                                           ORDER
17          The status conference is CONTINUED to October 30, 2014, at 9:00 a.m. The
18   court finds that a continuance is necessary for the reasons stated above and that the
19   ends of justice served by granting a continuance outweigh the best interests of the
20   public and the defendant in a speedy trial. Time is therefore excluded from the date of
21   this order through October 30, 2014, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv).
22          IT IS SO ORDERED.
23   Dated: September 18, 2014
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